Case 1:20-cv-05747-PAE Document 104 Filed 01/25/22 Page 1 of 2
Case 1:20-cv-05747-PAE Document 103 Filed 01/24/22 Page 1 of 2

U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

86 Chambers Street, 3" Floor
New York, New York 10007

January 24, 2022

By ECF
The Honorable Paul A. Engelmayer

United States District Judge
Southern District of New York
40 Foley Square

New York, New York 10007

Re: D.LCV,, et al. v. United States of America, No. 20-cv-5747 (PAE)
Dear Judge Engelmayer:

The parties provide the below update regarding the above-captioned case. On December
13, 2021, the Court granted the parties’ application te continue the stay in this matter pending
settlement discussions through January 24, 2022, and ordered that the parties provide an update by
that same date. See Dkt. No. 102. The parties write to respectfully request an additional 30-day
stay of this matter until February 23, 2022.

As the parties informed the Court in their prior status letters, the United States and a group
of counsel coordinating negotiations on behalf of plaintiffs and claimants (“Coordinating
Counsel”) were attempting to reach a nationwide resolution of actions arising from family
separations at the United States/Mexico border that occurred during the prior administration.
Those settlement talks have since ceased without a global resolution being reached. However,
with respect to this specific litigation, Plaintiffs intend to convey a settlement offer to the United
States, which it will evaluate. The parties jointly request that this action be stayed for an additional
30 days for the parties to explore whether this individual action may be resolved without the need
for further litigation.

However, the parties are also cognizant of the Court’s prior orders with respect to
jurisdictional discovery. To that end, Defendant intends to, during this stay (if granted), begin to
gather documents that are responsive to Plaintiffs’ discovery demands in an effort to help
discovery proceed in a timely fashion in the event it becomes necessary.

Accordingly, the parties respectfully request that the stay in this matter be continued to
February 23, 2022, and that the parties provide the Court with a status update by that same date.

We thank the Court for its consideration of this matter.
Case 1:20-cv-05747-PAE Document 104 Filed 01/25/22 Page 2 of 2
Case 1:20-cv-05747-PAE Document 103 Filed 01/24/22 Page 2 of 2

Page 2 of 2
Respectfully,

DAMIAN WILLIAMS
United States Attorney for the
Southern District of New York

/s/ Alexander J. Hogan

ALEXANDER J. HOGAN

REBECCA R. FRIEDMAN

Assistant United States Attorneys

86 Chambers Street, Third Floor

New York, New York 10007

Tel.: (212) 637-2799/2614

E-mail: alexander.hogan@usdoj.gov
rebecca.friedman@usdoj.gov

Granted. The Court thanks the parties for this update and notes with appreciation
defendant's efforts to gather responsive documents and avoid potential undue delay.

The parties are to submit a further joint status report explaining the progress of ongoing
settlement negotiations or a discovery plan in line with the Court's prior orders by February

23, 2022. SO ORDERED.

PAUL A, ENGELMAYER
United States District Judge
1/24/22

 
